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                  1      Kevin T. Barnes, Esq. (#138477)
                         Gregg Lander, Esq. (#194018)
                  2      LAW OFFICES OF KEVIN T. BARNES
                         5670 Wilshire Boulevard, Suite 1460
                  3      Los Angeles, CA 90036-5664
                         Tel.: (323) 549-9100 / Fax: (323) 549-0101
                  4      Email: Barnes@kbarnes.com
                  5      Raphael A. Katri, Esq. (#221941)
                         LAW OFFICES OF RAPHAEL A. KATRI
                  6      8549 Wilshire Boulevard, Suite 200
                         Beverly Hills, CA 90211-3104
                  7      Tel.: (310) 940-2034 / Fax: (310) 733-5644
                         Email: RKatri@socallaborlawyers.com
                  8
                         Michael D. Singer, Esq. (#115301)
                  9      Jeff Geraci, Esq. (#151519)
                         COHELAN KHOURY & SINGER
               10        605 C Street, Suite 200
                         San Diego, CA 92101-5305
               11        Tel.: (619) 595-3001 / Fax: (619) 595-3000
                         Email: Singer@ck-lawfirm.com
               12

               13        Attorneys for Plaintiff RICARDO BERMUDEZ VAQUERO,
                         on behalf of himself and all others similarly situated
               14
                                             UNITED STATES DISTRICT COURT
               15
                                            CENTRAL DISTRICT OF CALIFORNIA
               16
                         RICARDO BERMUDEZ                   )   Case No.: 2:12-cv-08590-PA-MAN
               17        VAQUERO, on behalf of himself      )   Honorable Percy Anderson
                         and all others similarly situated, )   Courtroom 15
               18                                           )
                               Plaintiff,                   )   CLASS ACTION
               19                                           )
                               v.                           )   JOINT NOTICE OF SETTLEMENT
               20                                           )
                         ASHLEY FURNITURE                   )   Action filed: August 24, 2012
               21        INDUSTRIES, INC., a Wisconsin )        Trial date: November 26, 2013
                         Corporation; STONELEDGE            )
               22        FURNITURE LLC, a Wisconsin )
                         Limited Liability Corporation, and )
               23        DOES 1 through 10, Inclusive,      )
                                                            )
               24              Defendants.                  )
                                                            )
               25        ///
               26        ///
               27        ///
               28
    LAW OFFICES OF
   KEVIN T. BARNES
 5670 WILSHIRE BLVD.
      SUITE 1460
                                                                 -1-
   LOS ANGELES, CA
      90036-5614
  TEL.: (323) 549-9100
                                              JOINT NOTICE OF SETTLEMENT
  FAX: (323) 549-0101
BARNES@KBARNES.COM
                     Case 2:12-cv-08590-PA-MAN Document 148 Filed 10/24/17 Page 2 of 3 Page ID #:3999



                  1      TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                  2
                               PLEASE TAKE NOTICE that Plaintiff Ricardo Bermudez Vaquero, on
                  3

                  4      behalf of himself and all others similarly situated, and Defendant Stonelege
                  5      Furniture, LLC have reached a global, class-wide settlement in the above-
                  6
                         referenced case, as well as the related case entitled Ricardo Bermudez Vaquero and
                  7

                  8      Robert Schaefer, v. Stoneledge Furniture, LLC, Los Angeles Superior Court Case
                  9      No. BC522676, subject to Court approval. The Parties have executed a
               10
                         Memorandum of Understanding, and are currently preparing a long-form, written
               11

               12        settlement agreement. Below are the upcoming scheduled dates in this matter:
               13
                                November 17, 2017 - Final Pre-Trial Conference; and
               14
                                December 12, 2017 - Trial.
               15

               16        Dated: October 24, 2017               LAW OFFICES OF KEVIN T. BARNES
                                                               LAW OFFICES OF RAPHAEL A. KATRI
               17
                                                               COHELAN KHOURY & SINGER
               18
                                                               By:     /s/ Kevin T. Barnes
               19                                                      Kevin T. Barnes, Esq.
               20                                                      Michael D. Singer, Esq.
                                                                       Attorneys for Plaintiff
               21

               22        Dated: October 24, 2017               LITTLER MENDELSON, P.C.

               23                                              By:     /s/ Scott Lidman
                                                                       Scott Lidman, Esq.
               24
                                                                       Attorneys for Defendant
               25

               26
               27

               28
    LAW OFFICES OF
   KEVIN T. BARNES
 5670 WILSHIRE BLVD.
      SUITE 1460
                                                                 -2-
   LOS ANGELES, CA
      90036-5614
  TEL.: (323) 549-9100
                                              JOINT NOTICE OF SETTLEMENT
  FAX: (323) 549-0101
BARNES@KBARNES.COM
                     Case 2:12-cv-08590-PA-MAN Document 148 Filed 10/24/17 Page 3 of 3 Page ID #:4000



                  1                                    PROOF OF SERVICE
                  2      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                  3            I, the undersigned, am over the age of 18 years and not a party to this action.
                         My business address is 5670 Wilshire Boulevard, Suite 1460, Los Angeles, CA
                  4      90036-5664, which is located in Los Angeles County, where the service herein
                         occurred.
                  5
                              On the date of execution hereof, I caused to be served the following attached
                  6      document/s:
                  7            JOINT NOTICE OF SETTLEMENT
                  8            on the interested parties in this action, addressed as follows:
                  9      Attorneys for Defendants:              Attorneys for Plaintiffs:
               10        J. Kevin Lilly, Esq.                   Raphael A. Katri, Esq.
                         Scott Lidman, Esq.                     LAW OFFICES OF RAPHAEL A. KATRI
               11        LITTLER MENDELSON,thP.C.               8549 Wilshire Boulevard, Suite 200
                         2049 Century Park East, 5 Floor        Beverly Hills, CA 90211-3104
               12        Los Angeles, CA 90067-3107             Tel.: (310) 940-2034
                         Tel.: (310) 553-0308                   Fax: (310) 733-5644
               13        Fax: (310) 553-5583                    Email: RKatri@socallaborlawyers.com
                         Email: KLilly@littler.com
               14                                               Michael D. Singer, Esq.
                                                                Jeff Geraci, Esq.
               15                                               COHELAN KHOURY & SINGER
                                                                605 C Street, Suite 200
               16                                               San Diego, CA 92101-5305
                                                                Tel.: (619) 595-3001
               17                                               Fax: (619) 595-3000
                                                                Email: Singer@ck-lawfirm.com
               18                                               Michael Rubin, Esq.
               19
                                                                ALTSHULER BERZON LLP
                                                                177 Post Street, Suite 300
                                                                San Francisco, CA 94108
               20                                               Tel.: (415) 421-7151
                                                                Fax: (415) 362-8064
               21                                               Email: mrubin@altshulerberzon.com
               22              using the following service method:
               23           X VIA ELECTRONIC SERVICE: The above documents were
                         electronically filed with the Clerk of the Court using the CM/ECF system, which
               24        sent notification of such filing to the above interested parties.
               25        I DECLARE under penalty of perjury that the foregoing is true and correct.
               26        Executed on October 24, 2017, at Los Angeles, California.
               27                                                       /s/ Cindy Rivas
               28                                                       Cindy Rivas
    LAW OFFICES OF
   KEVIN T. BARNES
 5670 WILSHIRE BLVD.
      SUITE 1460
                                                                  -3-
   LOS ANGELES, CA
      90036-5614
  TEL.: (323) 549-9100
                                               JOINT NOTICE OF SETTLEMENT
  FAX: (323) 549-0101
BARNES@KBARNES.COM
